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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                 )
UNITED STATES OF AMERICA et al., )
                                 )
     Plaintiffs,                 )
                                 )
v.                               )                   Civil No. 21-11558-LTS
                                 )
AMERICAN AIRLINES GROUP INC. and )
JETBLUE AIRWAYS CORPORATION, )
                                 )
     Defendants.                 )
                                 )

                     ORDER SETTING SCHEDULE FOR BENCH TRIAL

                                         August 23, 2022

SOROKIN, J.

       Trial in this case will commence on Tuesday, September 27, 2022 1 and will proceed on

the following schedule:

       •    Tuesday, September 27th: 9:00 a.m. to 1:00 p.m., and 2:15 to 4:30 p.m.

       •    Wednesday, September 28th: 9:00 a.m. to 1:00 p.m., and 2:00 to 3:30 p.m.

       •    Thursday, September 29th: 9:00 a.m. to 1:00 p.m.

       •    Friday, September 30th: 9:00 a.m. to 1:00 p.m., and 2:45 to 4:30 p.m.

       •    Monday, October 3rd: 9:00 a.m. to 1:00 p.m., and 2:30 to 4:30 p.m.

       •    Tuesday, October 4th: 8:30 a.m. to 12:30 p.m.

       •    Thursday, October 6th: 2 9:00 a.m. to 1:00 p.m.



1
  Court will not be in session on Monday, September 26, 2022, due to the observance of Rosh
Hashana.
2
  Court will not be in session on Wednesday, October 5, 2022, due to the observance of Yom
Kippur.
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       •    Friday, October 7th: 9:00 a.m. to 1:00 p.m., and 2:00 to 4:30 p.m.

       •    Tuesday, October 11th: 3 9:00 a.m. to 1:00 p.m, and 2:00 to 3:30 p.m.

       •    Wednesday, October 12th: 9:00 a.m. to 1:00 p.m., and 2:00 to 3:30 p.m.

       •    Thursday, October 13th: 9:00 a.m. to 1:00 p.m.

       •    Friday, October 14th: 9:00 a.m. to 1:00 p.m., and 2:00 to 4:30 p.m.

       •    Monday, October 17th: 9:00 a.m. to 1:00 p.m.

                                                     SO ORDERED.


                                                      /s/ Leo T. Sorokin
                                                     United States District Judge




3
 Court will not be in session on Monday, October 10, 2022, due to the observance of Indigenous
Peoples’ Day.
                                                 2
